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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


 In re:                                                          Chapter 11

 FTX TRADING LTD., et al.,1                                      Case No. 22-11068 (JTD)

                            Debtors.                             (Jointly Administered)



     NOTICE OF WITHDRAWAL OF BETDEX, INC.’S LIMITED OBJECTION AND
      RESERVATION OF RIGHTS REGARDING THE FIRST AMENDED JOINT
        CHAPTER 11 PLAN OF REORGANIZATION OF FTX TRADING LTD.
                      AND ITS DEBTOR AFFILIATES

          Based upon FTX Trading LTD’s, and its affiliated debtors and debtors-in-possession

(collectively, the “Debtors”), filing of the First Amended Plan Supplement (“Amended Plan

Supplement”) [Dkt. No. 25649], BetDEX Labs, Inc. (“BetDEX Inc.”) and BetDEX Labs, Ltd.

(“BetDEX Ltd.” and together with BetDEX Inc., “BetDEX”), a creditor and party-in-interest in

the above-captioned Chapter 11 cases of the Debtors, through its counsel, hereby withdraws

Docket No. 23139, which is BetDEX’s Limited Objection and Reservation of Rights regarding

the First Amended Joint Chapter 11 Plan of Reorganization of FTX Trading Ltd. and Its Debtor

Affiliates [Dkt. No. 23139].




1 The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the Debtors
and the last four digits of their federal tax identification numbers is not provided herein. A complete list of such
information may be obtained on the website of the Debtors’ claims and noticing agent at
https://restructuring.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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Dated: September 26, 2024           BIELLI & KLAUDER, LLC
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